             Case 1:21-cv-00205-RAL Document 4 Filed 09/29/21 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    ANTHONY HAMMOND MURPHY,

                                    Plaintiff,

                              vs.                    Case No.: 1:21-cv-205

    PANT SAGGIN LLC,

                                    Defendants.


        NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)

          Pursuant to F.R.C.P. 41(a)(1)(A) of the Federal Rules of Civil Procedure, the above
   captioned action is voluntarily dismissed, with prejudice, against all Defendants.

   Date: September 29, 2021

By: LAW|FIRST
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